               Case 2:09-cr-00450-KJM Document 107 Filed 01/22/14 Page 1 of 2




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 8                             IN THE UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  )    CASE NO. 2:09-CR-00450 LKK
                                                )
12                Plaintiff,                    )
                                                )    [PROPOSED]
13        v.                                    )    ORDER CONTINUING STATUS
                                                )    CONFERENCE
14   FRANKIE THOMAS GOULDING,                   )
                                                )
15                Defendant.                    )
                                                )
16                                              )
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18         The parties appeared before the Court on January 14, 2014, in the above-entitled
19   case. At that time, based upon the representations and agreement of both counsel, the
20   Court ordered that the status conference set for January 14, 2014 at 9:15 a.m., be
21   continued to February 11, 2014, at 9:15 a.m., and that the time beginning January 14,
22   2014, extending through February 11, 2014,, was excluded from the calculation of time
23   under the Speedy Trial Act. The exclusion of time is appropriate due to defense counsel’s
24   need to prepare, and for continuity of counsel. The additional time is necessary to ensure
25   defense counsel’s effective preparation, taking into account the exercise of due diligence.
26   18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4.
27         ACCORDINGLY, it is hereby ordered that the status conference set for January 14,
28
             Case 2:09-cr-00450-KJM Document 107 Filed 01/22/14 Page 2 of 2


 1   2014 at 9:15 a.m., be continued to February 11, 2014, at 9:15 a.m., and that the time
 2   beginning January 14, 2014, and extending through February 11, 2014,, be excluded from
 3   the calculation of time under the Speedy Trial Act. The Court finds that the interests of
 4   justice served by granting this continuance outweigh the best interests of the public and
 5   the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).
 6         IT IS SO ORDERED.
 7   Dated: January 21, 2014
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                                                                              Order after Hearing
                                                  2                   United States v. GOULDING
                                                                      2:09-CR-00450 LKK LKK
